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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

                              CASE NO.: 8:14-cv-01707-MSS-TBM

3LIONS PUBLISHING, INC.

         Plaintiff,

v.

JUNIPER NETWORKS, INC.

         Defendant.

                                               /

                MOTION FOR DAVID NIMMER TO APPEAR PRO HAC VICE

         Pursuant to Local Rule 2.02 of the Middle District of Florida, the undersigned

respectfully moves for admission pro hac vice of David Nimmer of Irell & Manella LLP, 1800

Avenue of the Stars, Suite 900, Los Angeles, California 90067 for purposes of appearance in

this case as co-counsel for Defendant Juniper Networks, Inc. and states as follows:

         1.      In accordance with Local Rule 2.02(a), a Special Admission Attorney

Certification form and payment of the requisite fee is being submitted to the Clerk of the Court

simultaneously herewith, as well as the filing of a Written Designation and Consent-to-Act by

Non-Resident Attorney. These documents are incorporated herein by reference.

         2.      David Nimmer is an attorney licensed in the State of California and has been a

member in good standing of the State Bar of California since 1981.

         3.      David Nimmer was also admitted to practice before the United States District

Court for the Central District of California and the United States Court of Appeals for the Ninth

Circuit in March of 1981.




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         4.     David Brafman, an attorney in Akerman LLP’s West Palm Beach, Florida office,

has been designated as local counsel for Defendant. Mr. Brafman is qualified to practice in this

Court and consents to designation as local counsel.

         5.     David Nimmer has never been disbarred and is not currently suspended from the

practice of law in the State of Florida or any other state nor from any United States Bankruptcy

Court, District Court, or Court of Appeals.

         6.     David Nimmer is familiar with and shall be governed by the local rules of this

Court, the rules of professional conduct, and all other requirements governing the professional

members of the Florida Bar.

         WHEREFORE, David Brafman moves this Court to enter an Order authorizing David

Nimmer to appear before this Court on behalf of Defendant Juniper Networks, Inc. for all

purposes relating to the proceedings in the above-styled matter and directing the Clerk to provide

notice of electronic filings to David Nimmer at DNimmer@irell.com.


               CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 3.01(g)

         Counsel hereby certifies that (1) he has conferred with counsel for Plaintiff regarding the

foregoing Motion and (2) Plaintiff’s counsel has advised they do not object to the relief

requested therein.

Dated: October 7, 2014                           /s/ David Brafman
                                                 David Brafman (FL Bar No. 68289)
                                                 AKERMAN LLP
                                                 777 South Flagler Drive
                                                 Suite 1100 West Tower
                                                 West Palm Beach, FL 33401
                                                 Telephone: (561) 659-5000
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                                                 Attorney for Juniper Networks, Inc.




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                                                 Of Counsel:
                                                 Jonathan S. Kagan
                                                 David Nimmer
                                                 (pro hac vice admissions pending)
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                                                 Los Angeles, California 90067
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                                                         DNimmer@irell.com


                                 CERTIFICATE OF SERVICE

         WE HEREBY CERTIFY that on October 7, 2014, a true and correct copy of the

foregoing was electronically filed with the Clerk of the Court by using the CM/ECF system

which will send a notice of electronic filing to all counsel of record.

                                                 /s/ David Brafman
                                                 David Brafman (FL Bar No. 68289)




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